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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

PAUL MONDERER,

      Plaintiff,
v.                                                C.A. No.: 1:20-cv-140

TEXAS PARTNERS TITLE, LLC,
RODGER M. SANDERS, and,
JEAN ANN BROCK

     Defendants.
__________________________________/

               COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, PAUL MONDERER (hereinafter sometimes referred to as

“Plaintiff”), by and through his undersigned counsel, sues Defendants, TEXAS

PARTNERS TITLE, LLC, RODGER M. SANDERS and JEAN ANN BROCK

(hereinafter sometimes referred to collectively as “Defendants”), and in support

thereof states as follows:

                               INTRODUCTION

      1.     This is an action by Plaintiff against his employers for unpaid wages

pursuant to the Fair Labor Standards Act, as amended, 29 U.S.C. § 201, et seq.

Plaintiff seek damages for unpaid wages, liquidated damages, and a reasonable

attorney’s fee and costs.
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                                 JURISDICTION

       2.     This claim is properly before this Court pursuant to 28 U.S.C. § 1331,

since this claim arises under federal law and by the private right of action conferred

in 29 U.S.C. § 216(b).

                                      VENUE

       3.     Venue is proper in this district under 28 U.S.C. § 1391(b)(1) because

Defendant, TEXAS PARTNERS TITLE, LLC, maintain offices in Travis County,

Texas.

                                  THE PARTIES

       4.     Plaintiff, PAUL MONDERER, is an individual residing in Travis

County, Texas.

       5.     Defendant, RODGER M. SANDERS, is an individual residing in

Collin County, Texas, and at all times relevant to this matter was an officer and

manager of Defendant, TEXAS PARTNERS TITLE, LLC, acting directly or

indirectly in the interest of Defendant, TEXAS PARTNERS TITLE, LLC,                in

relationship to Plaintiff.

       6.     Defendant, JEAN ANN BROCK, is an individual residing in Collin

County, Texas, and at all times relevant to this matter was an officer and manager of

Defendant, TEXAS PARTNERS TITLE, LLC, acting directly or indirectly in the

interest of Defendant, TEXAS PARTNERS TITLE, LLC, in relationship to Plaintiff.
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         7.      Defendants, RODGER M. SANDERS, and JEAN ANN BROCK hired

the Plaintiff and also supervised and controlled Plaintiff’s conditions of

employment. Defendants, RODGER M. SANDERS, and JEAN ANN BROCK,

determined the rate and method of payment for Plaintiff.

         8.      Defendants, RODGER M. SANDERS, and JEAN ANN BROCK, were

employers of the Plaintiff as defined by the Fair Labor Standards Act, 29 U.S.C. §

203(d).

         9.      Defendants, RODGER M. SANDERS, and JEAN ANN BROCK, at all

times relevant to this matter acted directly or indirectly in the interest of Defendant,

TEXAS PARTNERS TITLE, LLC, in relationship to Plaintiff’s employment.

RODGER M. SANDERS, and JEAN ANN BROCK are joint employers as defined

by 29 U.S.C. § 203(d).

         10.     Defendant, TEXAS PARTNERS TITLE, LLC, is a limited liability

company formed and existing under the laws of the State of Texas and maintains

offices in Travis County, Texas, and its primary business is as a real estate closing

agent.

         11.     Defendants have employees subject to the provisions of 29 U.S.C. §

206 in the facility where Plaintiff was employed.

         12.     At all times material to this complaint, Defendants employed two or

more employees and had an annual dollar volume of sales or business done of at
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least $500,000.00.

             UNPAID OVERTIME IN VIOLATION OF THE FLSA

      13.     At all times material to this complaint, Defendant, TEXAS

PARTNERS TITLE, LLC, was an enterprise engaged in interstate commerce,

operating a business engaged in commerce or in the production of goods for

commerce as defined by § 3(r) and 3(s) of the Act, 29 U.S.C. §§ 203(r)-(s).

      14.     Defendants    employed     Plaintiff,   PAUL     MONDERER,         from

approximately November 25, 2018, until December 27, 2019, as an “Escrow

Officer,” at Defendants’ offices in Austin, Texas and was paid at on a salary basis.

      15.     As part of Plaintiff’s regular and recurring job duties, Plaintiff was

individually engaged in commerce and produced goods for commerce and his work

was directly and vitally related to the functioning of Defendants’ business activities

through his use of the channels of interstate commerce, i.e., making interstate

telephone calls, handling interstate mail, and facilitated the movement of monies

through banking institutions in accordance with real estate contracts.

      16.     Throughout the employment of Plaintiff, Defendants repeatedly and

willfully violated Sections 7 and 15 of the Fair Labor Standards Act by failing to

compensate Plaintiff at a rate not less than one and one-half times his regular rate of

pay for each hour worked in excess of 40 in a workweek.

      17.     Plaintiff did not occupy a position that would be considered as exempt
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under the FLSA. While Defendants labelled the Plaintiff as an “Escrow Officer,”

his job duties were clerical in nature. In fact, on the date of Plaintiff’s termination

Plaintiff complained to the Defendants that he was performing work more akin to a

clerical assistant rather than an “Escrow Officer.” Once Plaintiff complained about

his job duties, Defendants terminated him.

      18.     Plaintiff worked numerous weeks in excess of forty hours per

workweek, and was not compensated for all work in excess of 40 hours at a rate not

less than one and one-half times the regular rate at which he was employed.

      19.     Defendants did not maintain accurate time records.

      20.     Plaintiff’s regular schedule was from 8:30 a.m. until 5:00 p.m., Monday

through Friday. Plaintiff did not take any breaks and would frequently stay later

than 5:00 p.m. to complete his work.

      21.     Defendants either knew about or showed reckless disregard for the

matter of whether their conduct was prohibited by the FLSA and failed to act

diligently with regard to their obligations as employers under the FLSA.

      22.     Defendants failed to act reasonably to comply with the FLSA, and so

Plaintiff is entitled to an award of liquidated damages in an equal amount as the

amount of unpaid overtime pay pursuant to 29 U.S.C. § 216(b).

      23.     As a result of Defendants’ unlawful conduct, Plaintiff is entitled to

actual and compensatory damages, including the amount of overtime which was not
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paid that should have been paid.

      24.     Plaintiff is entitled to an award of reasonable and necessary attorneys’

fees, costs, expert fees, mediator fees and out-of-pocket expenses incurred by

bringing this action pursuant to 29 U.S.C. § 216(b) and Rule 54(d) of the Federal

Rules of Civil Procedure.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff, PAUL MONDERER,

demands Judgment against Defendants, jointly and severally, for the following:

      a.      Awarding Plaintiff his compensatory damages, attorneys’ fees and
              litigation expenses as provided by law;

      b.      Awarding Plaintiff pre-judgment interest as provided by law, should
              liquidated damages not be awarded;

      c.      Awarding Plaintiff liquidated damages and/or statutory penalties as
              provided by law;

      d.      Awarding Plaintiff such other and further relief as the Court deems just
              and proper.
                            JURY TRIAL DEMAND

      Plaintiff hereby demand a jury trial on all issues so triable.

      Respectfully submitted this February 6, 2020.

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